               Case 23-11069-CTG   Doc 1329-2   Filed 12/11/23   Page 1 of 34




                                       Exhibit A

                                     Proposed Order




DE:4856-7802-3318.1 96859.001
                Case 23-11069-CTG             Doc 1329-2         Filed 12/11/23        Page 2 of 34




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. __

    ORDER AUTHORIZING THE DEBTORS TO ESTABLISH ALTERNATIVE DISPUTE
      RESOLUTION PROCEDURES FOR RESOLUTION OF CERTAIN LITIGATION
                  CLAIMS AND GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the

implementation of the alternative dispute resolution procedures described herein and attached as

Exhibit 1 hereto (the “ADR Procedures”), to facilitate the efficient resolution of certain Litigation

Claims against the Debtors, and (b) granting related relief, all as is more fully set forth in the

Motion; and the district court having jurisdiction under 28 U.S.C. § 1334, which was referred to

this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of Reference from the

United States District Court for the District of Delaware dated February 29, 2012; and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

having found that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



DE:4856-7802-3318.1 96859.001
               Case 23-11069-CTG          Doc 1329-2      Filed 12/11/23      Page 3 of 34




relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

         1.        The Motion is granted as set forth herein.

         2.        The ADR Procedures set forth in the attached Exhibit 1 are approved in all

respects.

         3.        The Debtors are authorized to take any and all steps that may be necessary or

appropriate to implement the ADR procedures. Nothing in this Order or the ADR Procedures shall

obligate ORIC or the Debtors (and/or any Third-Party Payor, if applicable) to settle or pursue

settlement of any particular Litigation Claim. Any settlement between ORIC, the Debtors (and/or

any Third-Party Payor, if applicable) and any Claimant may be pursued and agreed upon between

ORIC, the Debtors (and/or any Third-Party Payor or the Committee, if applicable) and any such

Claimant, as may be reasonable and appropriate under the circumstances, subject to the terms and

conditions of the ADR Procedures.

         4.        As of the date of the entry of this Order, all of the Claimants are enjoined (the “ADR

Injunction”) from commencing or continuing any action or proceeding in any manner or place,

including, but not limited to, this Court, seeking to establish, liquidate, collect, or otherwise




                                                     2
DE:4856-7802-3318.1 96859.001
               Case 23-11069-CTG         Doc 1329-2     Filed 12/11/23     Page 4 of 34




enforce or adjudicate any Litigation Claim against (a) the Debtors or their estates, (b) the

Indemnitees, or (c) ORIC and the Third-Party Payors.

         5.        The ADR Injunction and the automatic stay imposed by section 362 of the

Bankruptcy Code shall remain in full force and effect as to all Litigation Claims, subject to the

terms of the ADR Procedures attached hereto as Exhibit 1.

         6.        ORIC shall provide the Debtors and the Committee with a statement regarding the

Litigation Claims (the “Monthly Statement”) as soon as practicable following the end of each

month. Each Monthly Statement shall include (i) the amounts paid to settle any Litigation Claims

subject to the ADR Procedures and (ii) the current amount of the Insurers’ LOC

Proceeds/Collateral and any payments or reimbursements therefrom.

         7.        Nothing contained in this Order shall be deemed to preclude any party in interest

from objecting to any Litigation Claim to the extent such entity has standing to assert an objection

in accordance with the Bankruptcy Code.

         8.        Nothing contained in the Motion or this Order, and no action taken pursuant to the

relief requested or granted (including any payment made in accordance with this Order), is

intended as or shall be construed or deemed to be: (a) an admission as to the amount, validity, or

priority of, or the basis for, any claim against the Debtors or their estates under the Bankruptcy

Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in

interest’s right to dispute any claim on any grounds; (c) a promise or requirement to pay any

particular claim; (d) an implication, admission, or finding that any particular claim is an

administrative expense claim, other priority claim or otherwise of a type specified or defined in

the Motion or this Final Order; (e) a request or authorization to assume, adopt, or reject any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as



                                                   3
DE:4856-7802-3318.1 96859.001
               Case 23-11069-CTG          Doc 1329-2      Filed 12/11/23      Page 5 of 34




to the validity, priority, enforceability or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes

of action, or other rights of the Debtors or any other party in interest against any person or entity

under the Bankruptcy Code or any other applicable law.

         9.        Notice of the Motion as provided therein is deemed good and sufficient notice of

such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

         10.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the ADR Procedures.

         11.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                     4
DE:4856-7802-3318.1 96859.001
               Case 23-11069-CTG   Doc 1329-2   Filed 12/11/23   Page 6 of 34




                                        Exhibit 1

                                    (ADR Procedures)




DE:4856-7802-3318.1 96859.001
               Case 23-11069-CTG              Doc 1329-2         Filed 12/11/23        Page 7 of 34




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

                      [PROPOSED] ALTERNATIVE DISPUTE RESOLUTION
                       PROCEDURES FOR CERTAIN LITIGATION CLAIMS

        These alternative dispute resolution procedures (the “ADR Procedures”) are designed to
promote the efficient resolution, by settlement discussions or mediation, of certain disputed claims
against the above-captioned debtors and debtors in possession (collectively, the “Debtors”), which
Litigation Claims (as defined herein) may be covered under the Debtors’ Motor Carrier’s
Indemnity Insurance Policies (the “ORIC Policies”) issued by Old Republic Insurance Company
(collectively with its affiliates, “ORIC”). The ADR Procedures will be implemented,
administered, and coordinated by ORIC in consultation with the Debtors, the Committee, and any
participating Third-Party Payors (as hereinafter defined) if applicable. For the avoidance of doubt,
and notwithstanding any other part of these ADR Procedures, the Debtors and the Committee, in
their sole discretion, may choose whether or not to participate in the resolution of any claim.
Pursuant to the ADR Order (as defined herein), ORIC, together with the Debtors, the Committee,
and the Third-Party Payors, if applicable, are authorized to evaluate, settle, or otherwise resolve
all claims that are potentially covered under the ORIC Policies and/or by the Third-Party Payors,
without further order of the Bankruptcy Court.

I.           CLAIMS SUBJECT TO ADR PROCEDURES

         Other than the Excepted Claims (as defined herein), the ADR Procedures apply to any
individual or entity (the “Claimant”) holding a claim arising before August 8, 2023 for personal
injury and/or wrongful death, or for property damage, and any related claims, against the Debtors
or any of the Indemnitees (as hereinafter defined) (the “Litigation Claims”), including any claim
that is related thereto by way of, without limitation, subrogation, contribution, or indemnification.
Litigation Claims include claims against non-debtor third parties, which claims are covered in
whole, or in part, by the Debtors’ insurance policies or for which the Debtors retain ultimate
liability pursuant to contract, corporate by-laws and/or insurance policies and related agreements
(such non-debtor third parties are collectively referred to as the “Indemnitees” and individually, as
an “Indemnitee”). Indemnitees shall include, but are not limited to: (a) any of the Debtors’ or their
predecessor in interest’s current or former agents, representatives, drivers, or employees; (b) any

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
DE:4873-8228-7254.1 96859.001
               Case 23-11069-CTG       Doc 1329-2      Filed 12/11/23      Page 8 of 34




person indemnified by the Debtors; (c) any person or entity listed as an additional insured under
any of the Debtors’ insurance policies (including, but not limited to, the ORIC Policies); (d) any
current or former direct or indirect parent corporation, affiliates or subsidiaries of the Debtors;
(e) the officers, directors, and or employees of the Debtors or of any such parent, affiliate or
subsidiary; and (f) any other entity or individual sharing coverage with the Debtors.

         The following claims shall not be subject to the ADR Procedures and shall not be Litigation
Claims (collectively, the “Excepted Claims”): (a) workers’ compensation claims; (b) direct claims
against the Debtors’ insurers arising out of claims for bodily injury and/or wrongful death in those
states allowing direct actions against insurers; (c) claims (if any) where the automatic stay has been
lifted during the chapter 11 cases and which are being actively litigated in a nonbankruptcy forum;
(d) any claims or actions relating to any claims between the Debtors’ insurers, on one hand, and
the Debtors, on the other, including, but not limited to, any action relating to the claims of the
insurers and any actions relating to any irrevocable standby letters of credit or other collateral
provided by or for the benefit of the Debtors to the insurers, including any letters of credit that
were drawn down by ORIC or any Third-Party Payor (as defined herein) prior to or after
commencement of the chapter 11 cases (collectively, the “Insurers’ LOC Proceeds/Collateral”);
and (e) any declaratory judgment actions regarding insurance coverage issues.

        A preliminary list of Claimants holding Litigation Claims that ORIC and the Debtors seek
to liquidate through the ADR Procedures (the “Litigation Claims List”) is annexed hereto as
Exhibit A. If ORIC, any Third Party Payor, or the Debtors become aware of an additional
Claimant with a claim that was omitted from the Litigation Claims List, ORIC and the Debtors
may classify such claim as an “Additional Litigation Claim,” by filing notice with the Bankruptcy
Court and serving such notice on the holder of the Additional Litigation Claim. Any Additional
Litigation Claims shall be deemed included in the definition of “Litigation Claims” unless
determined not to be a Litigation Claim by order of the Bankruptcy Court.

       A Claimant need not have commenced any litigation, lawsuit, or any other proceeding
against one or more Debtors or their insurers to have a Litigation Claim.

II.      THIRD-PARTY PAYORS

         ORIC shall provide the Debtors’ other insurers and any other third-party payors
(collectively, the “Third- Party Payors”), to the extent such insurers or payors are known to ORIC,
and the Committee notice of any Potential Third-Party Payor Litigation Claim (as hereinafter
defined). Potential Third-Party Payor Litigation Claims are Litigation Claims for which (i) the
demand in a proof of claim or in the Claimant’s Demand (as defined herein) exceeds the limits of
any potentially applicable ORIC Policy, (ii) the information in a Claimant’s proof of claim or
Claimant’s Demand reasonably indicates that a Third-Party Payor may be responsible for payment,
in whole or in part, of the claim and/or (iii) a Third -Party Payor has been named as a party in a
suit or similar action or a demand or claim has been tendered against the Third-Party Payor directly
(the “Potential Third-Party Payor Litigation Claims”).

        The applicable Third-Party Payor shall have the right, but not the obligation (except as may
be provided in the applicable policy), to participate in any discussions, negotiations, dispute
resolutions, mediations, and litigation (the “Proceedings”). The failure of the applicable Third-

DE:4873-8228-7254.1 96859.001                    -2-
               Case 23-11069-CTG       Doc 1329-2      Filed 12/11/23      Page 9 of 34




Party Payor to respond to such notice or to decline to participate in the Proceedings at any time
(i) shall not be construed as a waiver of the right to participate in the Proceedings, and (ii) shall
not preclude the applicable Third-Party Payor from intervening or participating, in any way, in the
Proceedings at any time. If the applicable Third-Party Payor(s) elect(s) to participate in any
applicable stage of the ADR Procedures, ORIC (to the extent ORIC is aware of such Third-Party
Payor(s)) will send all relevant communications to the applicable Third-Party Payor(s). Further
details regarding the notice provided to the Third-Party Payors and any election to participate are
set forth in Section V below.

        Any amount of a Litigation Claim resolved by these ADR Procedures shall be paid in
accordance with the terms, provisions, conditions and exclusions of Debtors’ insurance policies
(including, but not limited to, the ORIC Policies) by ORIC and/or the Third-Party Payor, who may
then exercise any right to reimbursement they may have under such policies and related agreements
against the Insurers’ LOC Proceeds/Collateral. If the Insurers’ LOC Proceeds/Collateral has been
exhausted, then ORIC or the Third-Party Payor may assert a general unsecured claim for the
reimbursement of any such amount(s) paid by ORIC or the Third-Party Payor to resolve a
Litigation Claim resolved by these ADR Procedures, subject to the right of all parties (including
the Debtors and the Committee to object, and, if allowed, such claim shall be treated and satisfied
in accordance with the chapter 11 plan to be filed by the Debtors (the “Plan”). Any settlement of
a Litigation Claim shall include a waiver and release of all claims against the Debtors, their
chapter 11 estates, the Indemnitees, and ORIC (and the Third-Party Payor, if applicable).

III.      RESERVATION OF RIGHTS

        Nothing in these ADR Procedures shall: (i) modify, alter, or amend the terms, provisions,
conditions or exclusions of any insurance policies issued or providing coverage to the Debtors or
of any related agreements; (ii) modify the Debtors and/or their estates’ obligations (if any) to pay
any retentions or to pay (or reimburse an insurer for) any deductibles; (iii) release ORIC or the
Debtors and/or their estates of any of their obligations (if any) under any insurance policies and
related agreements; (iv) create or permit a direct right of action by any Litigation Claimant against
any insurers of any of the Debtors and/or of any non-Debtors; (v) preclude or limit, in any way,
the rights of any insurer to contest and/or litigate the existence, primacy, and/or scope of available
coverage under any allegedly applicable insurance policy or to otherwise assert any defenses to
coverage; or (vi) constitute a finding, admission or determination as to the existence of coverage
or the applicability of any insurance policy and its respective terms, provisions, conditions or
exclusions, with respect to any Litigation Claims. Notwithstanding anything in these ADR
Procedures, the administration of any Litigation Claim pursuant to these ADR Procedures shall
not give rise to any administrative claim against the Debtors or their estates.

        By participating in these ADR Procedures, ORIC and the Third-Party Payors do not waive
any coverage defenses they might have, including the right to deny coverage, and do not waive
any claims they might have against the Debtors or any other person or entity. ORIC and the Third-
Party Payors reserve all of their rights to seek to apply any of the terms, provisions, conditions or
exclusions set forth in the insurance policies issued to the Debtors (including, but not limited to,
the ORIC Policies) and to review and reevaluate coverage determinations as facts and
circumstances may warrant. The Debtors and all parties in interest reserve all rights, claims, and
defenses related to any coverage disputes related to these ADR Procedures or any of the insurance

DE:4873-8228-7254.1 96859.001                    -3-
              Case 23-11069-CTG       Doc 1329-2       Filed 12/11/23     Page 10 of 34




policies issued to the Debtors. Further, the Debtors and all parties in interest reserve all rights,
objections, and defenses with respect to any general unsecured claims asserted against the Debtors
pursuant to these ADR Procedures.

        Nothing in these ADR Procedures shall modify or alter any requirement for a Claimant to
file a proof of claim in the Debtors’ chapter 11 cases by the applicable deadlines established by
the Bankruptcy Court. The Debtors and all parties in interest reserve all rights, claims, and
defenses with respect to any proof of claim related to a Litigation Claim or the lack of a timely
filed proof of claim related to a Litigation Claim.

IV.      ADR INJUNCTION

        Upon entry of the order of the United States Bankruptcy Court for the District of Delaware
entered in the above-captioned cases establishing the ADR Procedures (the “ADR Order”), all of
the Claimants (and any other persons or entities asserting an interest in the relevant Litigation
Claim) shall be and shall continue to be, as applicable, enjoined from commencing or continuing
any action or proceeding in any manner or any place, including the Bankruptcy Court, seeking to
establish, liquidate, collect or otherwise enforce any Litigation Claim against any Debtor other
than through the ADR Procedures described herein (or as otherwise agreed by the Debtors and the
Committee) (collectively, the “ADR Injunction”). The ADR Injunction shall be in addition to, and
cumulative with, the injunction applicable to the Litigation Claims and the Claimants, including
the automatic stay, any other injunctions under the Bankruptcy Code, or as set forth in any
chapter 11 plan of the Debtors (the “Plan Injunction”).

       In addition, the ADR Injunction shall enjoin the Claimants to the fullest extent permitted
by applicable law from proceeding against (i) the Indemnitees and (ii) ORIC and all Third-Party
Payors, in each case solely with respect to the Litigation Claims, and with the exception of the
Excepted Claims. If the ADR Injunction is lifted, the Claimants may proceed against the Debtors
and the Indemnitees in forums outside the Bankruptcy Court, provided that the Claimants waive
and release any and all claims against the Debtors, their chapter 11 estates, and the Indemnitees
and their personal assets, and agree to proceed solely against insurance proceeds.

        The ADR Injunction shall expire with respect to a Litigation Claim only after (i) the ADR
Procedures have been completed with respect to such Litigation Claim, and (ii) only as provided
for herein.

V.       ADR PROCEDURES

        Prior to sending the ADR Notice (as defined herein) to the Claimant(s), ORIC, to the extent
it is aware of such Third-Party Payors, shall provide notice to any known applicable Third-Party
Payors and the Committee (the “Advance Notice”) of any Potential Third-Party Payor Litigation
Claim. If applicable, the Advance Notice may also include any Immediate Claim Settlement Offer
(as defined herein) that ORIC and the Debtors propose to make to a Claimant.

       Within 10 days of service of the Advance Notice, the Third-Party Payor must advise ORIC
and the Debtors in writing (electronic mail being sufficient) if it elects to participate in the Offer
Exchange Procedures (as defined herein) as to that particular Litigation Claim. If the Third-Party
Payor does not respond within 10 days of service of the Advance Notice, ORIC and the Debtors
DE:4873-8228-7254.1 96859.001                    -4-
              Case 23-11069-CTG        Doc 1329-2       Filed 12/11/23     Page 11 of 34




may proceed to engage in the Offer Exchange Procedures; provided, however, that ORIC and the
Debtors shall not make or accept any settlement offers without the prior written consent of the
Third-Party Payor unless such settlement offers do not require any payment by such Third- Party
Payor.

       ORIC shall pay all fees and costs related to the administration of these ADR Procedures
and the subsequent defense of the Litigation Claims, including with respect to the defense of the
Debtors or any of the Indemnitees, from the Insurers’ LOC Proceeds/Collateral. To the extent the
Insurers’ LOC Proceeds/Collateral has been exhausted, then ORIC may assert a general unsecured
claim for the reimbursement of any such fees or costs, which shall be treated and satisfied in
accordance with the Plan.

        Any payments under any of the Debtors’ insurance policies in excess of $500,000 (or, to
the extent that the Insurers’ LOC Proceeds/Collateral have been exhausted, $250,000) with respect
a Litigation Claim shall require the Debtors’ and the Committee’s written consent (not to be
unreasonably withheld); which consent shall be deemed given if the Debtors and the Committee
do not respond to ORIC’s request for consent within twenty-four hours if the offer is made outside
an in-person mediation and within three hours if the offer is made during the course of a formal
in-person mediation (including an ongoing Zoom mediation).

        If, after conclusion of the ADR Procedures, any Claimant wishes to lift the ADR Injunction
to continue to pursue Litigation Claims, then such Claimant shall be required to waive any and all
claims against the Debtors, the Debtors estates, and the Indemnitees and may then pursue such
Litigation Claims solely to the extent of insurance proceeds (if any).

         A.        Stage 1: ADR Notice

        Within 30 days of the entry of an order approving the ADR Procedures and the date the
Advance Notice is served, ORIC and the Debtors (if they exercise their discretion to participate)
will serve a notice (the “ADR Notice”), in the form annexed hereto as Exhibit B, to the holders of
Litigation Claims and the Committee. The ADR Notice will inform the Claimants that the
Litigation Claim is included in the ADR Procedures and either (i) make the Immediate Claim
Settlement Offer (as is hereinafter defined), or (ii) require the Claimant to return the ADR Notice
with the Claim Information and Settlement Demand Form (as hereinafter defined) and provide
supporting claim information.

       Within 30 days after they become aware of any Additional Litigation Claim, ORIC and the
Debtors (if they exercise their discretion to participate) shall also serve the ADR Notice to such
Claimant.

       The ADR Notice shall require the Claimant to respond to the ADR Notice so that ORIC
and the Debtors will actually receive the response no later than 30 days after the date on which the
ADR Notice is served (the “Claimant Response Deadline”).

        For purposes of the ADR Procedures, service on a Claimant shall be deemed adequate if
such service is provided to the Claimant: (i) at the email address(es) specified in their filed proof
of claim and of their counsel of record in these cases or in the pending litigation, if any; and (ii) by
mail. If no email address is known for the Claimant or the Claimant’s counsel, ORIC and the
DE:4873-8228-7254.1 96859.001                     -5-
              Case 23-11069-CTG              Doc 1329-2     Filed 12/11/23   Page 12 of 34




Debtors shall serve Claimant using a regularly recognized delivery service so that Claimant
receives the notice within five days of mailing. Service on ORIC and the Debtors shall be deemed
adequate if made by email at the email addresses set forth in the ADR Notice or if made by using
a regularly recognized overnight delivery service sent to the addresses set forth in the ADR Notice.

                   1.           Immediate Claim Settlement Offer

        For any Litigation Claim equal to or less than $50,000, ORIC and the Debtors (with the
consent of the Committee) may, but are not required to, include in the ADR Notice an offer to pay
the Litigation Claim in the amount asserted by the Claimant or any lesser or different amount, as
determined from ORIC and the Debtors’ reasonable review of the Litigation Claim (“Immediate
Claim Settlement Offer”). If an Immediate Claim Settlement Offer is included in the ADR Notice,
the Claimant shall have the option to sign and return the Immediate Claim Settlement Offer without
providing any additional information required by the ADR Procedures, in which case the Litigation
Claim will be paid by ORIC (and/or another Third-Party Payor, if applicable) in accordance with
the applicable insurance policy. If the Claimant fails to respond to the Immediate Claim Settlement
Offer by the Claimant Response Deadline, ORIC and the Debtors shall re-serve the ADR Notice
(the “Second ADR Notice”) on the Claimant in accordance with the service requirements set forth
in Section V.A above, and the Claimant will have an additional 30 days from the date of service
of the Second ADR Notice to respond to the Second ADR Notice (the “Second Claimant Response
Deadline”).

      Failure to sign and return the Second ADR Notice and Immediate Claim Settlement
Offer by the Second Claimant Response Deadline shall result in in the Claimant being
deemed to have accepted the Immediate Claim Settlement Offer and to have agreed and
consented to the proposed treatment of the Litigation Claim as set forth in the Immediate
Claim Settlement Offer. Any proof of claim filed by Claimant with respect to such Litigation
Claim will be deemed satisfied in full without further order of the Bankruptcy Court if
Claimant is deemed to consent to the Immediate Claim Settlement Offer pursuant to this
paragraph.

                   2.           Claim Information and Settlement Demand Form

        If ORIC and the Debtors elect not to make an Immediate Claim Settlement Offer, the ADR
Notice will include a form (the “Claim Information and Settlement Demand Form”) that
(a) requires the Claimant to make a settlement demand (the “Claimant’s Demand”), and
(b) provide ORIC and the Debtors certain information and documentation that will enable ORIC
and the Debtors to evaluate the Litigation Claim and the Claimant’s Demand. The Claimant must
return the completed ADR Notice and the Claim Information and Settlement Demand Form by the
Claimant Response Deadline. The Claimant shall not be required to provide duplicative
information to the extent the Claimant has already provided the requested claim information as
supporting documentation attached to the relevant proof of claim.

        The Claimant’s Demand may not exceed the amount of, or improve the priority set forth
in, the Claimant’s most recent timely-filed proof of claim, if one was filed. The Claimant’s
Demand may liquidate any unliquidated amounts asserted in a proof of claim. The Claimant may


DE:4873-8228-7254.1 96859.001                         -6-
              Case 23-11069-CTG               Doc 1329-2       Filed 12/11/23    Page 13 of 34




not return the Claim Information and Settlement Demand Form with an unknown, unliquidated,
indefinite, contingent, or similar description of the Litigation Claim or the amount thereof.

        Any Claimant who does not timely return the completed ADR Notice and the Claim
Information and Settlement Demand Form, unless otherwise agreed to in writing by ORIC,
the Debtors, and the Committee, (i) shall not be entitled to relief from the ADR Injunction.
and (ii) may have its Litigation Claim disallowed in accordance with Section VI below.

         B.        Stage 2: Offer Exchange Procedures

       The second stage of the ADR Procedures will be the following settlement offer and
exchange procedure, requiring the parties to exchange information and settlement offers and
thereby providing the opportunity to resolve the Litigation Claim on a consensual basis without
any further litigation (the “Offer Exchange Procedures”).

         If, after service of the ADR Notice, the Claimant fails to timely respond within any of the
deadlines set forth in these Offer Exchange Procedures, ORIC and the Debtors will have the option
of (i) advancing resolution of the Litigation Claim to mediation by advising the Claimant that the
Litigation Claim will proceed to the next stage of the ADR Procedures, or (ii) pursuing their rights
under Section VI below.

                   1.           Response

        Within 30 days after ORIC and the Debtors’ receipt of a Claimant’s Demand, ORIC and
the Debtors shall serve a response on the Claimant and their counsel, if identified (the “Response”).
The Response shall either: (a) accept the Claimant’s Demand; (b) make an offer to settle the
Litigation Claim (the “Offer”); or (c) request additional information.

         If the Claimant’s Demand indicates that it is a Potential Third-Party Payor Litigation
Claim, ORIC and the Debtors will provide 10 days’ notice to the applicable Third-Party Payor of
its rights to elect to participate in the Offer Exchange Process. If the Third-Party Payor elects to
participate in the Offer Exchange Process, ORIC shall not make or accept any settlement offers
without the prior written consent of the Third-Party Payor; provided, however, that if the
settlement amount does not require payment by such Third- Party Payor, ORIC and the Debtors
may proceed to make or accept settlement offers without the consent of the Third- Party Payor.

                                a.      Acceptance of Claim. ORIC and the Debtors (and/or the Third-
                                Party Payor, if applicable) may accept the Litigation Claim as asserted in
                                the Claimant’s Demand. In such event, the Litigation Claim will be paid by
                                ORIC (or the Third-Party Payor, if applicable) in accordance with the
                                applicable insurance policy.

                                b.       Offer. ORIC and the Debtors may make a written good faith offer
                                of settlement based upon its review of the Litigation Claim. The Offer shall
                                be made in consultation with the Third-Party Payors with respect to
                                Potential Third-Party Payor Litigation Claims. Any Offer in excess of
                                $500,000 (or, to the extent that the Insurers’ LOC Proceeds/Collateral have
                                been exhausted, $250,000) shall require the Debtors’ written consent (not

DE:4873-8228-7254.1 96859.001                            -7-
              Case 23-11069-CTG               Doc 1329-2      Filed 12/11/23    Page 14 of 34




                                to be unreasonably withheld), which consent shall be deemed given if not
                                expressly withheld within twenty-four hours if the Offer is made outside an
                                in-person mediation and within three hours if the Offer is made during an
                                in-person mediation (including an ongoing Zoom mediation).

                                c.      Additional Information. ORIC and the Debtors (and/or the Third-
                                Party Payor, if applicable) may request supplemental information or
                                clarification of information to assist in a good faith evaluation of any
                                particular Litigation Claim. The Claimant shall serve such additional
                                information so that ORIC and the Debtors (and the Third-Party Payor, if
                                applicable) actually receive such information within 15 days of the mailing
                                of such request. If the Clamant timely responds to such a request, the time
                                period within which ORIC and the Debtors (and/or the Third-Part Payor, if
                                applicable) may otherwise respond to the Claimant’s Demand shall be
                                extended until 20 days after ORIC and the Debtors (and the Third-Party
                                Payor, if applicable) have actually received the supplemental information.
                                The Litigation Claim will not be processed further until the additional
                                information requested has been provided.

                   2.           Claimant’s Reply.

       Each Claimant shall have 20 days after service of the Offer within which to reply (the
“Reply Deadline”). The Claimant’s reply shall be in writing and signed by the Claimant or an
authorized representative.

        If the Offer is accepted, the Litigation Claim shall be paid as set forth in Section V.I below.
If the Offer is rejected, or the Claimant does not respond by the Reply Deadline., the Litigation
Claim will automatically advance to the next stage of the ADR Procedures. If the Claimant does
not respond by the Reply Deadline, ORIC and the Debtors may seek relief in accordance with
Section VI below.

                   3.           Confidentiality of Offer Exchange Procedures

        All offers made and communications exchanged during the Offer Exchange Procedures
shall be provided to ORIC, the Debtors, and the Committee. All such communications shall be
confidential among ORIC, the Debtors, the Committee, applicable Third-Party Payors, and the
relevant Claimant, and no party shall disclose the contents of such offers or communications
without the prior written consent of each of the other parties. Any and all statements and offers
made during the Offer Exchange Procedures shall be subject to Federal Rule of Evidence 408 and
shall not be subject to discovery in any subsequent proceeding.

         C.        Stage 3: Informal Resolution Procedures

       If a settlement is not reached as a result of the Offer Exchange Procedures outlined in
Section V.B above, then counsel for ORIC, the Debtors (if they elect to participate), and the Third-
Party Payor, if applicable, and the Claimant, or counsel for the Claimant, if represented by counsel,
will meet in-person or over Zoom within seven days to negotiate further to determine if a resolution
can be reached (the “Informal Resolution Procedures”).
DE:4873-8228-7254.1 96859.001                           -8-
              Case 23-11069-CTG              Doc 1329-2         Filed 12/11/23   Page 15 of 34




         D.        Stage 4: Mediation

        If a Litigation Claim is not resolved pursuant to the Offer Exchange Procedures or the
Informational Resolution Procedures set forth in Section V.C above, the next stage of the ADR
Procedures will be mediation, in which case the following mediation procedures will apply (the
“Mediation Procedures”). Any party may be represented by legal counsel, although the
participation of legal counsel shall not be required to conduct the Mediation Procedures.

                   1.           Mediation Notice

        If a Litigation Claim is not resolved pursuant to the Offer Exchange Procedures or the
Informal Resolution Procedures, ORIC shall serve a notice of mediation (the “Mediation Notice”)
in the form annexed hereto as Exhibit C on the Litigation Claimant within 10 days after the
completion of the Offer Exchange Procedures or as soon thereafter as is reasonably practicable.

        With respect to any Potential Third-Party Payor Litigation Claims, ORIC will also serve
the Mediation Notice on the applicable Third-Party Payor and shall give such Third-Party Payor
10 days’ notice of any mediation and the opportunity to participate. If the Third Party Payor elects
to participate in the Mediation Procedures, ORIC shall not make or accept any settlement offers
without the prior written consent of the Third Party Payor; provided, however, that if the settlement
amount does not require the participation by such Third Party Payor in any respect, ORIC and the
Debtors may proceed to make or accept settlement offers without the consent of the Third Party
Payor.

                   2.           Appointment of a Mediator.

          ORIC and the Debtors (if they elect to participate) shall identify three experienced
mediators for consideration by the Claimant. The Claimant shall select one of the mediators from
the list.

        All mediators shall be impartial and neutral. No mediator shall have any financial or
personal interest in or relation to the proceedings or, except where otherwise agreed by the parties,
in any related matters.

                   3.           Fees and Costs of a Mediator.

        The fees and costs of the mediator shall be divided evenly between Claimant(s), on the one
hand, and ORIC and/or the Third-Party Payor (if applicable) on the other hand; provided, however,
that the Claimant’s portion shall not exceed $500. The Claimant shall bear the cost and expense
of its own counsel, experts, witnesses, and prosecution.

                   4.           Location and Scheduling of Mediation.

       The Claimant and ORIC and (if they elect to participate) the Debtors (and, if applicable,
the Third-Party Payor with respect to any Potential Third-Party Payor Litigation Claims) shall
reasonably confer regarding the time, duration, and location of the Mediation; provided, however,

DE:4873-8228-7254.1 96859.001                           -9-
              Case 23-11069-CTG               Doc 1329-2        Filed 12/11/23   Page 16 of 34




that the mediation shall occur within 60 days of appointment of the mediator. All mediation
sessions may take place virtually.

                   5.           Mediation Statements.

        On or before 10 days prior to the scheduled mediation, the Claimant shall serve on the
mediator, ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) by email and no
later than by 6:00 p.m. (EST), a non-confidential (as between the parties and the mediator), pre-
mediation statement (the “Opening Statement”), not to exceed 10 pages, excluding any
attachments, setting forth all of the Claimant’s claims and identifying each and every cause of
action or theory the Claimant asserts, including a short and plain statement of the facts and law
upon which the Claimant relies for recovery and maintains entitle it to relief. The Claimant shall
include, as exhibits or annexes to the Opening Statement, any documents, affidavits, or other
evidentiary materials on which the Claimant relies, but which are not attached to the Claimant’s
proof of claim.

        On or before five days after service of the Opening Statement, ORIC and (if they elect to
participate) the Debtors (and/or the Third-Party Payor, if applicable) shall serve on the mediator
and the Claimant, by email and no later than by 6:00 p.m. (EST), a non-confidential (as between
the parties and the mediator) response statement (the “Response Statement”) not to exceed 10
pages, excluding attachments.

        At the mediator’s discretion and direction, the parties may submit additional, confidential
letters or statements to the mediator only, addressing settlement amounts and such related
negotiation matters as the mediator may request.

                   6.           Confidentiality of Mediation.

        All meetings and proceedings, including any statements made and evidence introduced
during the Mediation, shall be confidential among ORIC, the Debtors, the Committee, applicable
Third-Party Payors, the relevant Claimant, and the mediator, and no party shall disclose the
contents of such meetings and proceedings without the prior written consent of each of the other
parties. Any and all statements made and evidence introduced at these meetings and proceedings
shall not be subject to discovery in any subsequent proceeding unless otherwise independently
discoverable under the applicable rules, nor may the mediator serve or be called as a witness in
any subsequent proceeding relating to the Litigation Claim.

                   7.           Conclusion of Mediation Procedures/Mediated Settlement.

        The mediator will work with all parties towards reaching a settlement. The mediator shall
not have any authority to impose a settlement upon the parties. Unless otherwise agreed to by the
Claimant, ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) in writing, the
mediation process will terminate 30 days after the close of the initial mediation session. A
settlement reached pursuant to the Mediation Procedures shall be paid as set forth in Section V.I
below. If a settlement does not result from mediation and the mediator advises the Claimant,
ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) that the parties have
participated in good faith but reached an impasse, then Stage 5, as set forth in Section V.E below,
will follow. Unless otherwise agreed to by the Debtors, the Committee and ORIC, no
DE:4873-8228-7254.1 96859.001                           -10-
              Case 23-11069-CTG               Doc 1329-2       Filed 12/11/23    Page 17 of 34




Claimant may proceed with litigation of or otherwise initiate any process or proceeding to
pursue, the Litigation Claim without having first completing the Mediation Procedures.

         E.        Stage 5: Relief from the ADR Injunction

                   1.           Relief from the ADR Injunction.

        Completion of the Offer Exchange Procedures and the Mediation Procedures is a
prerequisite for a Claimant to obtain relief from the ADR Injunction. Except as provided below,
the ADR Injunction shall remain in effect against each Claimant until relief from the ADR
Injunction is granted by the Bankruptcy Court with respect to the relevant Litigation Claim or as
otherwise provided for herein. No Claimant shall be granted relief from the ADR Injunction to
commence or continue any action, suit, trial, or other process, including, but not limited to,
discovery, or to pursue its Litigation Claim in any nonbankruptcy forum, until the Claimant has
completed the Offer Exchange Procedures and the Mediation Procedures.

        The ADR Injunction may be modified by a joint stipulation executed by the Debtors,
ORIC, and the Claimant (the “Stipulation”), with the consent of the Committee, to permit the
liquidation of a Litigation Claim that is not resolved through the ADR Procedures. To the extent
the Claimant has completed the Offer Exchange Procedures and the Mediation Procedures, and
the Debtors and Claimant do not execute a Stipulation mutually agreeing to modify the ADR
Injunction, the Claimant may seek relief from the ADR Injunction subject to the following terms
and conditions:

                                a.     When Motion for Relief from ADR Injunction May Be Heard. If a
                                       Litigation Claim has not been resolved upon completion of the Offer
                                       Exchange Procedures and the Mediation Procedures, the Claimant
                                       shall have the right to seek relief from the ADR Injunction by filing
                                       a motion with the Bankruptcy Court; provided, however, that such
                                       Claimant shall waive and release any and all claims against the
                                       Debtors, the Indemnitees, and the Debtors’ estates, and may pursue
                                       such Litigation Claim(s) with the Debtors identified solely as
                                       nominal parties, solely to the extent of insurance proceeds, if any.
                                       The motion shall be served upon the Debtors, ORIC, the Committee,
                                       and any applicable Third-Party Payor(s), and their counsel. Unless
                                       otherwise sought by the Claimant, the motion and the hearing on the
                                       same shall be subject to Local Bankruptcy Rules for the District of
                                       Delaware.

                                b.     Claimant’s Certificate. A Claimant’s motion seeking relief from the
                                       ADR Injunction must include as an attachment a certification signed
                                       by the Claimant or their attorney certifying that the Claimant has
                                       completed the ADR Procedures and that despite the Claimant’s
                                       good faith participation in such process the Litigation Claim remains
                                       unresolved and unliquidated. In the absence of this certification, the
                                       Bankruptcy Court may summarily deny Claimant’s motion.


DE:4873-8228-7254.1 96859.001                           -11-
              Case 23-11069-CTG             Doc 1329-2       Filed 12/11/23    Page 18 of 34




                                c.   No Waiver of Defenses. The submission of any Litigation Claim to
                                     the ADR Procedures shall not constitute or serve as a waiver or
                                     release of any defenses or claims which the Debtors, on their own
                                     behalf or on behalf of their estates, ORIC, or any applicable Third-
                                     Party Payor may have with respect to a Claimant’s request for
                                     modification of the ADR Injunction. The Debtors, ORIC, any
                                     Third-Party Payor, or any other interested party, may oppose a
                                     Claimant’s request for relief from the ADR Injunction on the basis
                                     that the Claimant has not participated in the ADR Procedure in good
                                     faith, or for any other appropriate reason, including, but not limited
                                     to, the applicability of any discharge of the Litigation Claim under
                                     the Bankruptcy Code. Moreover, the submission of any Litigation
                                     Claim to the ADR Procedures shall not constitute or serve as a
                                     waiver or release of any claim or defense which may otherwise be
                                     available to the Debtors, on their own behalf or on behalf of their
                                     estates, ORIC, or any Third Party Payors, including, but not limited
                                     to, any policy condition that may exist at law or in equity and that
                                     may be asserted in defending against any Litigation Claim, or which
                                     impacts insurance coverage for any Litigation Claim, in the event
                                     that the ADR Injunction is modified by order of the Bankruptcy
                                     Court.

         F.        Duty to Negotiate in Good Faith

       During the period of these ADR Procedures, the Claimant, ORIC, and the Debtors (and the
Third-Party Payors, if applicable) shall negotiate in good faith in an attempt to reach an agreement
for the compromise of the Litigation Claim; provided, however, that any dispute as to the
underlying value of the claim shall not, in and of itself, constitute bad faith.

         G.        Admissibility of ADR Proceedings

       Other than as expressly provided herein, the submission of any Litigation Claim to the
ADR Procedures, the positions of the parties during compliance with the ADR Procedures, and
any other admissions made during the ADR Procedures, shall not be admissible for any purpose
in any case, matter, or proceeding including, without limitation, trial by any party or third party,
or any proceeding under 11 U.S.C. § 502, and are expressly determined by the provisions herein
not to be admissions by either party. Such positions and statements shall remain confidential
among the parties and any mediator and protected by Rule 408 of the Federal Rules of Evidence.

        The mediator may not be compelled to disclose to the Court or to any person outside the
mediation conference any of the records, reports, summaries, notes, communications, or other
documents received or made by the mediator while serving in such capacity. The mediator may
not testify or be compelled to testify regarding the mediation in connection with any arbitral,
judicial or other proceeding. The mediator will not be a necessary party in any proceedings relating
to the mediation. Nothing contained in this paragraph prevents the mediator from reporting the
status, but not the substance, of the mediation effort to the Court.


DE:4873-8228-7254.1 96859.001                         -12-
              Case 23-11069-CTG        Doc 1329-2       Filed 12/11/23   Page 19 of 34




         H.        Discovery

        To avoid undue expense or delay, any materials, testimony, or other evidence submitted by
either party during the course of the ADR Procedures, and of the kind normally available in
discovery proceedings may, upon written agreement of the parties, be treated as if submitted in
pretrial discovery proceedings.

         I.        Allowance and Payment of Any Settlement

       If you hold a Litigation Claim with respect to which settlement has been reached
through the ADR Procedures, please read the following carefully. Any settlement reached
pursuant to the ADR Procedures will be paid by ORIC or the Third-Party Payor, if
applicable. You must waive and release any and all claims against the Debtors, their
chapter 11 estates, the Indemnitees and their personal assets, ORIC, and the Third-Party
Payor, if applicable, to receive such payment(s).

VI.      FAILURE TO COMPLY WITH ADR PROCEDURES

        If, absent written agreement by the Debtors and the Committee, a Claimant fails to comply
with the ADR Procedures, negotiate in good faith, or cooperate with ORIC, the Debtors, or any
applicable Third-Party Payor, and as may be necessary to effectuate the ADR Procedures, the
Bankruptcy Court may, after notice and a hearing, find such conduct to be in violation of the ADR
Order or an abandonment of or failure to prosecute the Litigation Claim, or both. Upon such
findings, the Bankruptcy Court may, among other things, disallow and expunge the Litigation
Claim, in whole or in part, or grant such other or further relief as the Bankruptcy Court may deem
just and appropriate under the circumstances.

VII.     MODIFICATION OF ADR PROCEDURES BY WRITTEN CONSENT

       Notwithstanding anything to the contrary contained herein, the ADR Procedures,
including, but not limited to, any related deadlines, may be modified or extended by the written
consent of ORIC, the Debtors, the Claimant, and the Committee.

VIII. NOTICE

       Whenever notice or service of papers is required under the ADR Procedures, it shall be
given in the manner provided in the relevant section as follows:

         If to the Debtors:

         Yellow Corporation
         11500 Outlook Street, Suite 400
         Overland Park, Kansas 66211
         Attention:    Legal@myyellow.com

         with copies to (which copies shall not constitute notice):

         Kirkland & Ellis LLP

DE:4873-8228-7254.1 96859.001                    -13-
              Case 23-11069-CTG     Doc 1329-2       Filed 12/11/23   Page 20 of 34




         300 N. LaSalle, 60654
         Chicago, IL
         Attention:    Michael B. Slade
                       Michael Esser
                       Casey McGushin
                       William T. Pruitt
                       Whitney C. Fogelberg
         Email:        michael.slade@kirkland.com
                       Michael.esser@kirkland.com
                       Casey.mcgushin@kirkland.com
                       william.pruitt@kirkland.com
                       whitney.fogelberg@kirkland.com

         and

         Kirkland & Ellis LLP
         601 Lexington Avenue
         New York, NY 10022
         Attention:    Allyson Smith
         Email:        allyson.smith@kirkland.com


         If to Old Republic Insurance Company:

         Old Republic Risk Management
         307 N. Michigan Avenue
         Chicago, IL 60601
         Attention:    Ozie Lewis
         Email:        olewis@orrm.com

         and

         Old Republic Risk Management
         445 S. Moorland Road
         Brookfield, WI 53005
         Attention:    Brandon Robison
         Email:        brobison@orrm.com

         If to the Committee:

         Akin Gump Strauss Hauer & Feld LLP
         1 Bryant Park
         Bank of America Tower
         New York, NY 10036
         Attention:    Philip C. Dublin
                       Meredith Lahaie
                       Kevin Zuzolo

DE:4873-8228-7254.1 96859.001                 -14-
              Case 23-11069-CTG            Doc 1329-2     Filed 12/11/23   Page 21 of 34




         Email:                 pdublin@akingump.com
                                mlahaie@akingump.com
                                kzuzolo@akingump.com




DE:4873-8228-7254.1 96859.001                      -15-
              Case 23-11069-CTG   Doc 1329-2    Filed 12/11/23    Page 22 of 34




                                        Exhibit A

                                  Litigation Claims List

                      Claimant                             Claim No(s).
        1.            [●]                                  [●]
        2.            [●]                                  [●]
        3.            [●]                                  [●]
        4.            [●]                                  [●]
        5.            [●]                                  [●]
        6.            [●]                                  [●]
        7.            [●]                                  [●]
        8.            [●]                                  [●]
        9.            [●]                                  [●]
        10.           [●]                                  [●]
        11.           [●]                                  [●]
        12.           [●]                                  [●]
        13.           [●]                                  [●]
        14.           [●]                                  [●]
        15.           [●]                                  [●]
        16.           [●]                                  [●]
        17.           [●]                                  [●]
        18.           [●]                                  [●]
        19.           [●]                                  [●]
        20.           [●]                                  [●]
        21.           [●]                                  [●]
        22.           [●]                                  [●]
        23.           [●]                                  [●]
        24.           [●]                                  [●]
        25.           [●]                                  [●]
        26.           [●]                                  [●]
        27.           [●]                                  [●]
        28.           [●]                                  [●]
        29.           [●]                                  [●]
        30.           [●]                                  [●]
        31.           [●]                                  [●]
        32.           [●]                                  [●]
        33.           [●]                                  [●]
        34.           [●]                                  [●]
        35.           [●]                                  [●]
        36.           [●]                                  [●]
        37.           [●]                                  [●]
        38.           [●]                                  [●]




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG   Doc 1329-2   Filed 12/11/23   Page 23 of 34




                                       Exhibit B

                                      ADR Notice




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG              Doc 1329-2         Filed 12/11/23         Page 24 of 34




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

             ADR NOTICE AND DEADLINE FOR SUBMISSION OF INFORMATION

Service Date:
Claim No(s).:
Claimant:
Address:
Claimant’s Attorney (if known):

Deadline to Respond (“Response Deadline”):

       You are receiving this notice (the “ADR Notice”) because your claim against Yellow
Corporation and its affiliated debtors (collectively, the “Debtors”) or against any Indemnitees has
been submitted to alternative dispute resolution pursuant to the alternative dispute resolution
procedures (the “ADR Procedures”) established by order of the United States Bankruptcy Court
for the District of Delaware entered in the above-captioned cases on ______________, 2023
[Docket No. [●]] (the “ADR Order”). The ADR Procedures will be implemented, administered,
and coordinated by Old Republic Insurance Company (“ORIC”), in consultation with the Debtors
and the Committee.

       A copy of the ADR Procedures, as approved by the ADR Order, is annexed hereto. Any
terms not defined herein or in any subsequent notices that you may receive regarding the ADR
Procedures shall have the meanings attributed to them in the ADR Procedures.

       YOU SHOULD CONSIDER CONSULTING A LAWYER. Your participation in these
ADR Procedures may either be by you or, if applicable, by a lawyer that has filed an appearance
on your behalf in the Bankruptcy Court or the court in which your previously filed lawsuit or other
proceeding is pending.

        ORIC and the Debtors, in consultation with the Committee, have reviewed your claim(s)
and offer the amounts set forth in the attached Immediate Claim Settlement Offer in full
satisfaction of your claims. You must respond to the Immediate Claim Settlement Offer either by:


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.



DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG      Doc 1329-2     Filed 12/11/23     Page 25 of 34




       (1)     signing this ADR Notice and completing the Immediate Claim Settlement Offer
and accepting such offer; or

       (2)   by rejecting the offer and completing the attached Claim Information and
Settlement Demand Form.

        If you accept the offer, you do not need to complete the Claim Information and Settlement
Demand Form. If you reject the offer, you must complete and return the Claim Information and
Settlement Demand Form, which must include a settlement demand. If you do not return this
singed ADR Notice and the Immediate Claim Settlement Offer so that it is received by ORIC
and the Debtors by the Response Deadline, resolution of your Claim will be governed by
Section VI of the ADR Procedures. Any settlement reached pursuant to these ADR
Procedures will be paid by ORIC (and/or any applicable Third-Party Payor). You must
waive and release any and all claims against the Debtors, their chapter 11 estates, the
Indemnitees and their personal assets, and ORIC and the Third-Party Payor, if applicable,
to receive such payment(s).

        If you do not accept the Immediate Claim Settlement Offer, or if no Immediate Claim
Settlement Offer was made, you are required to complete and return this ADR Notice and
the attached Claims Information and Settlement Demand Form. You must complete all
sections of the Claims Information and Settlement Demand Form, including (1) the Section
I Settlement Demand which is the amount you offer to settle your claim for; and (2) the
Section II Claim information section, along with all supporting documentation. The ADR
Notice and the Claims Information and Settlement Demand Form must be returned to ORIC
and the Debtors by the Response Deadline. If you fail to comply with this requirement, your
claims may be disallowed, discharged, released, and/or waived pursuant to Section VI of the
ADR Procedures.

All responses must be sent to counsel to the Debtors and ORIC, as set forth in the ADR Procedures.




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG    Doc 1329-2     Filed 12/11/23    Page 26 of 34




        Pursuant to the ADR Procedures and ADR Order, your Settlement Demand may not
(i) include or make an unliquidated, unknown, or similar demand; and/or (ii) exceed the
amount of, or improve the priority set forth in, your most recent timely-filed proof of claim,
if any. Your failure to return the Claim Information and Settlement Demand Form with a
Settlement Demand for an amount certain may result in the Debtors seeking disallowance,
discharge, release, and/or waiver of the claim pursuant to section VI of the ADR Procedures.

         I HAVE READ AND UNDERSTAND THIS NOTICE.


Date:
                                           Claimant Signature or Authorized Person


                                           Print Claimant or Authorized Person Name


EACH CLAIMANT MUST SIGN THIS ADR NOTICE. ADDITIONAL CLAIMANTS
MUST SIGN AND PRINT THEIR NAME ON A SEPARATE SHEET.




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG        Doc 1329-2   Filed 12/11/23    Page 27 of 34




                                            [optional]

                                IMMEDIATE CLAIM PAYMENT OFFER

Based on a review of documentation relating to your Claim, ORIC and the Debtors have
determined that you have asserted your Claim in the amount of $____________, and hereby offers
to pay such Claim in the amount of $[____________].

If you agree to payment of your ADR Claim by ORIC in the amount of $____________, please
sign below and return this form to counsel to the Debtors and ORIC at the addresses set forth in
the ADR Procedures. If you accept this offer, you are not required to submit any additional
documentation or information with the return of this form. If you do not accept this offer, you
must complete and return the ADR Notice and the Claims Information and Settlement Demand
Form according to the instructions set forth in the ADR Notice and the ADR Procedures.

Payment of your Claim by ORIC does not entitle you to any other cash payments from the
Debtors and, if paid by ORIC, you will be deemed to have waived and released any and all
claims against the Debtors, their chapter 11 estates, the Indemnitees and their personal
assets, and ORIC and any applicable Third-Party Payor.

I agree to allowance of my claim as set forth in this Immediate Claim Payment Offer

Date:
                                             Claimant Signature or Authorized Person


                                             Print Claimant or Authorized Person Name


                                             Relationship to Claimant if Authorize Person

EACH CLAIMANT MUST SIGN THIS FORM. ADDITIONAL CLAIMANTS MUST SIGN
AND PRINT THEIR NAMES ON A SEPARATE SHEET.

SIGNATURE OF ATTORNEY

Date:
                                             Attorney for Claimant Signature


                                             Print Attorney for Claimant Signature




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG              Doc 1329-2         Filed 12/11/23         Page 28 of 34




                CLAIM INFORMATION AND SETTLEMENT DEMAND FORM1

I.        SETTLEMENT DEMAND

YOU MUST INCLUDE AN OFFER FOR WHICH YOU WOULD SETTLE YOUR
LITIGATION CLAIM. PLEASE NOTE THAT IF YOUR OFFER IS ULTIMATELY
ACCEPTED BY ORIC AND THE DEBTORS, ORIC (OR OTHER THIRD-PARTY PAYORS,
IF APPLICABLE) SHALL PAY SUCH LITIGATION CLAIM AND YOU WILL BE DEEMED
TO HAVE WAIVED AND RELEASED ANY AND ALL CLAIMS AGAINST THE DEBTORS,
THEIR CHAPTER 11 ESTATES, THE INDEMNITEES AND THEIR PERSONAL ASSETS,
AND ORIC OR ANY APPLICABLE THIRD-PARTY PAYOR.

Amount for which you offer to settle the Litigation Claim: $___________________.

II.       CLAIM INFORMATION

          CLAIMANT MUST PROVIDE THE FOLLOWING INFORMATION:

1.        Name, address, and telephone number of counsel:




2.        Names, addresses, and telephone numbers
          of all Claimants:




3.        Debtor against whom the claim is brought:

4.        Your date of birth:

5.        Date of injury:

6.        Where did the incident occur?




          Please specify the location and address.


1
      You shall not be required to provide information duplicative of supporting documentation attached to any relevant
      proof of claim filed in the chapter 11 cases.



DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG        Doc 1329-2       Filed 12/11/23     Page 29 of 34




7.       Are you pursuing this claim against any other party? Yes ❑ No ❑
         If yes, against whom (list the name, the addresses and counsel for each party, if known)?


         Attach additional sheets if necessary.

8.       Did you notify the Debtor(s) in writing of the incident? (If yes, attach a copy of such
         writing.) Yes ❑ No ❑

9.       Is there a pending lawsuit regarding your claim? If yes, identify the court where the
         lawsuit is pending, the case number and the judge, if known and attach a copy of the
         complaint.



10.      What type of injuries or damages do you have arising from the incident? Provide a
         medical description of any injuries. (Please state if the claim is based, in whole or in part,
         on an injury or damages to someone else.)



11.      How did the injury occur?



12.      Did you miss any work as a result of the incident? If so, how many days?



13.      Give the name and address of your employer(s) and your salary or rate of pay at the time
         of the incident.



14.      Was anyone else injured or did anyone else sustain damages at the time of the incident?
         (If yes, list the names and addresses.)



15.      List the names, addresses and phone numbers of all witnesses and people with relevant
         knowledge of your claim (including, but not limited to, any representatives or agents of
         the Debtors).




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG          Doc 1329-2      Filed 12/11/23     Page 30 of 34




16.      Are treatments still being given for any injury? Yes ❑ No ❑



         (If yes, provide the name and address of any and all doctors that are currently treating
         you for such injury and the nature of the treatment).

17.      Physician Data

         a.        Give the name and address of any physician, clinic or hospitals that have treated
                   this injury. Include treatment dates. (Attach additional sheets if necessary)




         b.        Itemize all damages you claim, including any damages for emotional distress, loss
                   of consortium or pain and suffering.




         c.        Give the total amount of the medical bills you incurred as a result of suffering
                   your injury.




         d.        Itemize any other expenses you incurred as a result of the incident for which you
                   are making a claim.




         e.        Give a list of medical expenses and amounts paid by your insurance company as a
                   result of your injury.




         f.        Give the name, address and policy number of your insurance company.




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG          Doc 1329-2        Filed 12/11/23   Page 31 of 34




18.      Attach the following documents:

         a.        All medical records and bills for medical services received by the Claimant as a
                   result of the injury allegedly caused by the Debtor(s);

         b.        Autopsy/Coroner report, if applicable;

         c.        Death Certificate, if applicable; and

         d.        Photographs, videotapes, and any other documentation you wish to be considered
                   in the evaluation of your claim.

                                        [Signature Page Follows]




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG   Doc 1329-2     Filed 12/11/23    Page 32 of 34




NOTICE: UNDER FEDERAL LAW, CRIMINAL PENALTIES MAY BE IMPOSED FOR
FILING A CLAIM CONTAINING FALSE OR MISLEADING STATEMENTS.

I declare under penalty of perjury that the foregoing statements are correct.



Date:
                                          Claimant Signature or Authorized Person


                                          Print Claimant or Authorized Person Name


SIGNATURE OF ATTORNEY


Date:
                                          Attorney for Claimant Signature

                                          ______________________________
                                          Print attorney for Claimant Name




EACH CLAIMANT MUST SIGN THIS CLAIM INFORMATION FORM.
ADDITIONAL CLAIMANTS MUST SIGN AND PRINT THEIR NAMES ON A
SEPARATE SHEET.




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG   Doc 1329-2   Filed 12/11/23   Page 33 of 34




                                       Exhibit C

                                    Mediation Notice




DE:4873-8228-7254.1 96859.001
              Case 23-11069-CTG              Doc 1329-2         Filed 12/11/23         Page 34 of 34




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

                                             MEDIATION NOTICE

Service Date:
Claim No(s).:
Claimant:
Address:
Claimant’s Attorney (if known):

        By this Mediation Notice, Old Republic Insurance Company (“ORIC”) and the debtors in
the above-captioned chapter 11 cases (the “Debtors”) hereby submit the above-identified claim
(the “Litigation Claim”) in these chapter 11 cases to mediation, pursuant to the alternative dispute
resolution procedures (the “ADR Procedures”) established by order of the United States
Bankruptcy Court for the District of Delaware entered in the above-captioned cases on
____________________, 2023 [Docket No.[_____]] (the “ADR Order”).

       ORIC and the Debtors have been unable to resolve your Litigation Claim on a consensual
basis with you through the Offer Exchange Procedures or the Informal Resolution Procedures of
the ADR Procedures. As provided for in the ADR Procedures, you and counsel to ORIC and the
Debtors (and any applicable Third-Party Payors) shall work in good faith to select a mediator
pursuant to Section V.D of the ADR Procedures. The ADR Procedures require you to share the
fees and costs of mediation charged by the mediator, up to a cap of $500.

       A complete copy of the ADR Procedures is enclosed for your reference. Please refer to
Section V.D of the ADR Procedures concerning mediation.

                                                       [Signature of ORIC and the Debtors]




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.



DE:4873-8228-7254.1 96859.001
